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 6   Office:(702) 901-7553; Fax: (702) 974-1297
 7   Attorneys for Plaintiff, Michael Miller
 8
                                 UNITED STATES DISTRICT COURT
 9
                                          DISTRICT OF NEVADA
10
     MICHAEL MILLER,                                   Case No.:   2:21-cv-01031-RFB-EJY
11
                            Plaintiff,
12
     v.                                                     NOTICE OF APPEARANCE
13
     REPUBLIC SILVER STATE DISPOSAL, INC.,
14   and DOES 1-50,
15                          Defendants.
16
17   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

18          NOTICE IS HEREBY GIVEN that Theresa M. Santos, Esq., of the law firm WATKINS &
19   LETOFSKY, LLP. is to be added as an attorney of record for Michael Miller.

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           Case 2:21-cv-01031-RFB-EJY Document 21 Filed 03/16/22 Page 2 of 3




 1          Any and all notices, pleadings, correspondence, or communications regarding the above-
 2   entitled matter are to be directed to: Theresa M. Santos, Esq., (tsantos@wl-llp.com) and Daniel R.
 3   Watkins (dw@wl-llp.com), 8935 S. Pecos Rd., Ste. 22A, Henderson, NV 89074, telephone number
 4   (702) 901-7553 and facsimile number (702) 974-1297.
 5
 6          DATED this 16th day of March 2022.           WATKINS & LETOFSKY, LLP
 7
 8                                                        /s/ Theresa Santos
                                                    By: ______________________________
 9                                                      Daniel R. Watkins, Esq
                                                        Theresa M. Santos, Esq
10
                                                        8935 S. Pecos Rd., Ste. 22A
11                                                      Henderson, NV 89074
                                                        Office: (702) 901-7553; Fax: (702) 974-1297
12                                                      Attorneys for Plaintiff
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 1                                    CERTIFICATE OF SERVICE
 2          Pursuant to FRCP 5(b)(2)(e), I hereby certify that on the 16th day of March 2022, I served
 3   the foregoing NOTICE OF APPEARANCE to the Clerk’s Office using the CM/ECF system for
 4   filing and transmittal of a notice of electronic filing to the following CM/ECF registrants:
 5                          SEE THE COURT’S E-FILING SERVICE LIST
 6
            I declare that I am employed in the office of a member of the bar of this court at whose
 7
     direction the service was made
 8
 9                                                    /s/ Farah Kachermeyer
                                                     Farah H. Kachermeyer
10                                                   An employee of Watkins & Letofsky, LLP.
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